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                                         UNITED STATES DISTRICT COURT

                                          FOR THE DISTRICT OF IDAHO

 REBECCA SCOFIELD,                                        Case No. 3:22-cv-00521-REP

                            Plaintiff,                    MEMORANDUM IN SUPPORT OF
                                                          MOTION FOR LEAVE TO AMEND
          v.                                              COMPLAINT TO ADD PUNITIVE
                                                          DAMAGES
 ASHLEY GUILLARD,

                            Defendant.


         Professor Scofield requests leave of Court to file her proposed Amended Complaint to add

a prayer for punitive damages with supporting factual allegations. This Court’s scheduling order

set a January 12, 2024, deadline for filing such a motion for leave to amend. ECF 38, ¶ 1. Thus,

this motion is timely. Defendant Ashley Guillard’s responses to Professor Scofield’s Requests for

Admission show that she has no facts to support her extreme and outrageous assertions that

Professor Scofield had an affair with a student and then planned, initiated, ordered, and executed

the murder of four University of Idaho students. Ms. Guillard also has continued to make and

participate in YouTube videos repeating these false statements. Punitive damages are appropriate.



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                                   I. FACTUAL BACKGROUND

         In November 2022, four students at the University of Idaho were murdered at a home near

campus.1 ECF 1, ¶ 5. Ms. Guillard, a resident of Texas, took this tragedy as an opportunity to post

sensationalist content online to attract clicks and make money. ECF 20, p. 13, ¶ 32; Declaration of

Wendy J. Olson (“Olson Decl.”), Ex. O. According to Ms. Guillard, she “used her spiritual practice,

psychic abilities, [and] metaphysical tools [] including Tarot Cards,” ECF 50-1, p. 2, to post “over

one hundred TikTok videos” of her supposed “findings” concerning the murders near the

university, ECF 20, p. 14, ¶ 38.

         Ms. Guillard’s purported “findings,” which she posted on the social media website TikTok,

went like this: Professor Scofield had a same-sex affair with one of the victims and then “planned,

initiated, ordered, and executed the murder of [the] four University of Idaho Students.” ECF 50-

1, p. 1; see also ECF 1, ¶¶ 15–26; ECF 20, p. 10, ¶¶ 13–15. Ms. Guillard has admitted that she

made these sensational statements, although now she claims she was just relaying the results of a

tarot card reading, and she has admitted that these statements were not based on any facts. Olson

Decl., Ex. A (Defendant’s Responses to Requests for Admission) at Responses 1, 2, 27-30. Ms.

Guillard has also admitted that her false statements are based on her spiritual research, intuition,

instincts, and investigative skills and that she currently has no physical evidence, written

information or oral information from another human being that support her false statements. Id.,

Ex. A at Responses 3,4, 9, 10, 15-20. She states that she hopes to find facts to support her position

through discovery in this case, but she has none, and discovery is closed. Id., Ex. A at Responses

9, 10, 15, 17, 19; ECF 38, ¶ 6. She made those same statements to this Court in a hearing on

Professor Scofield’s motion to dismiss her counterclaims. The University of Idaho has no records


1
 To respect the privacy of the victims and their families, this memorandum refers to the victims
by their initials: K.G., M.M., X.K., and E.C.

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that any of the four students—or the student Ms. Guillard alleged that Professor Scofield hired to

commit the murders—took a class from Professor Scofield or communicated with her. Olson Decl.,

Ex. S.

         Ms. Guillard continued to make false statements that Professor Scofield had a same-sex

affair with one of the victims and planned, initiated, ordered, and executed the murders even after

receiving cease-and-desist letters from Professor Scofield in December of 2022 (Olson Decl., Ex.

A at Responses 25-28) and even after she knew that the Moscow Police Department had issued a

press release stating that it did not believe Professor Scofield was involved in the murders. Id., Ex.

A at Responses 29-30.

         And Ms. Guillard has continued to make these same false statements over and over and

over again in the thirteen months since Professor Scofield filed this lawsuit. For example, in a

YouTube video posted on February 8, 2023, https://www.youtube.com/watch?v=uZ-fo4F-q9w,

Ms. Guillard provides a detailed narrative of her sensational story about Professor Scofield and

claims that Professor Scofield has photographs, videos, and messages from the night of the murder

and during the murder on a collaborative book literature app she used to collaborate with the people

she had help her plan and execute the murders. Olson Decl., Ex. P. In an interview for the online

program “Nerd Report” posted on June 9, 2023, https://www.youtube.com/watch?v=X4V769td-

DQ, Ms. Guillard states that she still asserts Professor Scofield was involved in the murders even

after learning of Bryan Kohberger’s arrest, and then went on to describe how on the day of the

murder Professor Scofield connected with Kohberger on a whim and used him as a tool to see what

was going on. Olson Decl., Ex. Q. In that same interview she explained how she gained traction

for her claims about unsolved murders by posting about them on social media. Id. Most recently,

on October 14, 2023, Ms. Guillard posted a YouTube video in which she discusses this litigation,



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again states that Professor Scofield murdered four people, and states that Professor Scofield would

get away with it if it wasn’t for her. https://www.youtube.com/watch?v=z2lYBCoLTdo. Olson

Decl., Ex. R.

                                              II. ARGUMENT

A.        Legal Standard

         Punitive damages claims are governed by Idaho Code § 6-1604. Section 1604(1) provides

that in order to recover punitive damages, plaintiffs must show “by clear and convincing evidence,

oppressive, fraudulent, malicious or outrageous conduct by the party against whom the claim for

punitive damages is asserted.” I.C. § 6-1604(1). However, amending the pleadings to seek punitive

damages requires a lesser showing. To amend the complaint to seek punitive damages, a party

need only show “a reasonable likelihood of proving facts at trial sufficient to support an award of

punitive damages.” I.C. § 6-1604(2). “The court shall allow the motion to amend the pleading if,

after weighing the evidence presented, the court concludes that, the moving party has established

at such hearing a reasonable likelihood of proving facts at trial sufficient to support an award of

punitive damages.” I.C. § 6-1604(2) (emphasis added). Since the plaintiff need only show a

“reasonable likelihood” of establishing its entitlement to punitive damages, a court reviews the

evidence “in the light most favorable to plaintiffs, with the benefit of all legitimate inferences

without assessing credibility.” Est. of Kane v. Epley’s Inc., No. 3:15-CV-00105-EJL-REB, 2017

WL 1158242, at *4 (D. Idaho Mar. 28, 2017).

         The question is not whether a plaintiff will succeed at trial on its punitive damage claim or

whether the evidence is uncontroverted. Rather, a claim for punitive damages should be permitted

if the plaintiff has shown “a reasonable likelihood [he] could prove by a preponderance of the

evidence that the defendant acted oppressively, fraudulently, wantonly, maliciously or

outrageously.” Vendelin v. Costco Wholesale Corp., 140 Idaho 416, 424, 95 P.3d 34, 42 (2004).

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To recover punitive damages, a plaintiff must establish both a sufficiently “bad act,” and a “bad

state of mind.” Hall v. Farmers Alliance Mut. Ins. Co., 145 Idaho 313, 319, 179 P.3d 276,

282(2008) (quoting Myers v. Workmen’s Auto Ins. Co., 140 Idaho 495, 503, 95 P.3d 977, 985

(2004)). The “bad act” requirement is established by showing that the defendant acted in a manner

that was “an extreme deviation from reasonable standards of conduct, and that the act was

performed by the defendant with an understanding of or disregard for its likely consequences.”

Seiniger Law Off., P.A. v. N. Pac. Ins. Co., 145 Idaho 241, 249, 178 P.3d 606, 614 (2008) (citation

omitted). The “bad state of mind” requirement is met by proof of “an extremely harmful state of

mind” which can be characterized as “malice, oppression, fraud or gross negligence.” Id. at 250,

178 P.3d at 615 (citation omitted). “In general, the primary purpose behind an award for punitive

damages is to deter similar conduct from happening again in the future.” Walston v. Monumental

Life Ins. Co., 129 Idaho 211, 221, 923 P.2d 456, 466 (1996).

B.       Professor Scofield has established a reasonable likelihood of proving facts at trial
         sufficient to support an award of punitive damages.

         Here, Professor Scofield has established a reasonable likelihood of proving facts at trial

sufficient to support an award of punitive damages. Professor Scofield can establish that

Ms. Guillard acted oppressively, fraudulently, wantonly, maliciously, or outrageously. Professor

Scofield can establish that Ms. Guillard committed a bad act with a bad state of mind.

         Ms. Guillard’s TikTok videos, her admissions to the Requests for Admission, and her even

more recent YouTube videos show that Ms. Guillard has accused Professor Scofield of being

involved in an extramarital affair with a student at the university at which she teaches and a serial

killer. Despite repeatedly acknowledging that she has no evidence admissible in any Court—and

now with fact discovery closed she will not get any—Ms. Guillard is unrepentant. She persists in

making the very same false statements even after being told repeatedly that her statements are false


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and even after the State of Idaho has charged someone else with the murders. Such repeated

conduct is indisputably wanton, malicious, and outrageous.

         Ms. Guillard’s statements made on TikTok after the murders variously asserted, falsely,

that Professor Scofield “killed [K.G., M.M., E.C., & X.K.],” “was the one to initiate the plan &

hired” the supposed hitman, “ordered the murder of the 4 University of Idaho students,” and

broadly claimed that Professor Scofield was involved in the killings. Olson Decl., Exs. E, F. G, H,

I, J. Ms. Guillard also made statements on TikTok after the murders asserting, falsely, that

Professor Scofield was having an affair with K.G. and orchestrated the murders to cover that up.

Id., Ex. G, J, K, L.

         Ms. Guillard’s statements in the YouTube videos posted after Professor Scofield filed her

lawsuit are equally outrageous. In a February 8, 2023, YouTube video, Ms. Guillard alleged that

Professor Scofield has photographs, videos, and messages from the night of the murder and during

the murder on a collaborative book literature app she used to collaborate with the people she had

help her plan and execute the murders. Olson Decl., Ex. P. Ms. Guillard claims in the video that

anyone can get the photographs, videos, and messages from Professor Scofield by issuing a

subpoena to her, id., but Ms. Guillard did not even do so in this case. She purports to describe in

detail how Professor Scofield first mentored, then began an affair with one of the students, often

meeting up with the student when Professor Scofield’s husband was out of town. Id. In a June 9,

2023, interview posted on YouTube, Ms. Guillard said that the arrest of Bryan Kohberger did not

change her mind about Professor Scofield’s involvement in the murders. Id., Ex. Q. Instead, she

claimed that Professor Scofield contacted Kohberger on a whim on the day of the murders. Id.

Unsurprisingly, however, the indictment charging Bryan Kohberger does not give any suggestion

that any other person was involved. Id., Ex. T.



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         Finally, on October 14, 2023, Ms. Guillard posted another YouTube video focusing on this

litigation and again stating that Rebecca was responsible for the murders. Id., Ex. R.

         The statements themselves are bad acts. They show an extreme deviation from reasonable

standards of conduct because they were not based on any facts to begin with and because Ms.

Guillard continued to make them even after she was aware of clear facts showing they were false.

See Seiniger Law Off., P.A. 145 Idaho at 249, 178 P.3d at 614. They were also made by the

defendant with disregard for their likely consequences on Professor Scofield. Id. That the

statements were made without any factual basis and continued to be made after Ms. Guillard

received the cease-and-desist letters, knew the Moscow Police Department did not believe

Professor Scofield was responsible for the murders, and knew that someone else had been arrested

with no evidence of connection to Professor Scofield also proves Ms. Guillard’s bad state of mind.

Her ongoing statements were made at least with gross negligence. Id., 145 Idaho at 250, 178 P.3d

at 615. That Ms. Guillard has posted internet videos, or participated in YouTube interviews, in the

thirteen months after the lawsuit was filed further spreading her false statements all while not

obtaining a single fact in discovery that supports her allegations only underscores that she engaged

in bad acts with a bad state of mind.

                                         CONCLUSION

         The “primary purpose” of a punitive damages award is to “deter similar conduct from

happening again in the future.” Walston, 129 Idaho at 221, 923 P.2d at 466. Ms. Guillard’s false

statements on TikTok about the University of Idaho murders and Professor Scofield’s role in them

were designed to gain notoriety and attention for Ms. Guillard. Olson Decl., Ex. O. She admitted

as much in the June 9, 2023, “Nerd Report” interview when she explained how she got traction for

her posts on unsolved crimes. Id., Ex. Q. Ms. Guillard’s conduct is precisely that which punitive



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damages were designed to address. Professor Scofield has set forth more than sufficient evidence

for the Court at this stage to find that she has a reasonable likelihood of proving facts at trial

sufficient to support an award of punitive damages. I.C. § 6-1604(2). Accordingly, Professor

Scofield respectfully requests that this Court grant her motion for leave to amend her Complaint

to add a prayer for relief for punitive damages and additional facts in support thereof.



          DATED: January 12, 2024.

                                                    STOEL RIVES LLP



                                                    /s/ Wendy J. Olson
                                                    Wendy J. Olson
                                                    Elijah M. Watkins
                                                    Cory M. Carone

                                                    Attorneys for Plaintiff




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on January 12, 2024, I served a copy of the foregoing via CM/ECF on

the Registered Participant as follows:

         Ashley Guillard
         msashleyjt@gmail.com


                                              /s/ Wendy J. Olson
                                              Wendy J. Olson




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